 

EU UNITED STATES DISTRICT COURT
JAN 04 2021 EASTERN DISTRICT OF MISSOURI
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my MAIL — Emkee DIVISION
)
C sear Gare 202 01264 OF
(Write the full name of the plaintiff in this action. ) Case No:
Include prisoner registration number.) ) (to be assigned by Clerk of District Court)
)
v. ) Plaintiff Requests Trial by Jury
spe. (Watker, Jane o€- | Nurse, Wedical ) > ~_Yes |____No
: {- reson __ANd ‘ (Nesey [awe j een: A if )
Kean, )
)
)
)
(Write the full name of each defendant. The caption )
must include the names of all of the parties. )
Fed. R. Civ. P. 10(a). Merely listing one party and )
writing “et al.” is insufficient. Attach additional )
sheets if necessary.) )

PRISONER CIVIL RIGHTS COMPLAINT UNDER 42 U.S.C. § 1983

NOTICE:

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date, the full name of a person
known to be a minor, or a complete financial account number. A filing may include only: the last
four digits of a social security number, the year of an individual’s birth, a minor’s initials, and
the last four digits of a financial account number.

Except as noted in this form, plaintiff should not send exhibits, affidavits, witness statements, or
any other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the $400.00 filing fee or an
application to proceed without prepayment of fees and costs.
I. The Parties to this Complaint

A, The Plaintiff

Name: C kcag Crenke

Other names you have used:

 

 

Prisoner Registration Number: 202612 640%

Current Institution:

4 charles County GA, 349i NN. Second St. ot iC hacles MLo 6270]

Indicate your prisoner status:
Sq Pretrial detainee | | Convicted and sentenced state prisoner
J Civilly committed detainee LJ Convicted and sentenced federal prisoner

[] Immigration detainee [] Other (explain):
B. The Defendant(s)

To the best of your knowledge, give the information below for each defendant named in the
caption of this complaint. Make sure the defendant(s) named below are the same as those listed
in the caption of this complaint. Attach additional pages if necessary.

 

For an individual defendant, include the person’s job title, and check whether you are suing the
individual in his or her individual capacity, official capacity, or both.

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Defendant 1
Name: [-¥ ‘ Watker
Job or Title: >ocloe
Badge/Shield Number:
Employer: g. Chae les C ountly fa)

Address: 301 N: Second Sh Gh. Charles, Mo 6 330!

 

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SI Lhacles Wo 6330)

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Defendant 2

Name: —\nate “Dee- l
Job or Title: No (5
Badge/Shield Number:
Employer: St Chacles Condy Mail

Address: 20 \ Second cL. i. C hacles, No (330!

b<] Individual Capacity b<] Official Capacity

 

II. Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:

What happened to you?

When did it happen?

Where did it happen?

What injuries did you suffer?

What did each defendant personally do, or fail to do, to harm you?

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Ill. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what

medical treatment, if any, you required and did or did not receive.
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IV. Relief

State briefly and precisely what you want the Court to do for you. Do not make legal arguments.
Do not cite any cases or statutes. If you are requesting money damages, include the amounts of
any actual damages and/or punitive damages you are claiming. Explain why you believe you are
entitled to recover those damages. p relimmacy 1 yaeshont? Forcing dalidrcal:Ganaes seradell
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V. Exhaustion of Administrative Remedies/Administrative Procedures

The Prison Litigation Reform Act (“PLRA”) 42 U.S.C. § 1997e(a), requires that “[nJo action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
Federal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed
if you have not exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other
correctional facility?

YA Yes [| No

If yes, name the jail, prison or other correctional facility where you were confined at the
time of the events giving rise to your claim(s):

~ SH Chacles County lal

 

B. Does the jail, prison or other correctional facility where your claim(s) arose have
a grievance procedure?

‘BL ves | No | Do not know

C. If yes, does the grievance procedure at the jail, prison or other correctional facility
where your claim(s) arose cover some or all of your claims?

<I yes | No | Do not know

5
If yes, which claim(s)? .
They Vislated my Sth 3 Hh Amendment and continue fo violate
ily Rights inthenstionsally And knowing ly.

D. Did you file a grievance in the jail, prison, or other correctional facility where
your claim(s) arose concerning the facts relating to this complaint?

NZ Yes LE]. No

If no, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

Hi Yes []. No

E: If you did file a grievance:

I. Where did you file the grievance?
Hh Char lec County cla |

2. What did you claim in your grievance? (Attach a copy of your grievance, if
available) “YT Sheold have a (actese pree(Nawrdniry died) Peoause

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‘ at was the result, if any? (Attach a copy of any written response to your

grievance, if available)

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4. What steps, if any, did you take to appeal that decision? Is the grievance process
completed? If not, explain why not. (Describe all efforts to appeal to the highest

(evel of the grievance process.) “| Nya eA ileal do he hihest
VC evance level ad St Chacles County lac,

F, If you did not file a grievance:

N la
l. If there are any reasons why you did not file a grievance, state them here:

nl A
2. If you did not file a grievance but you did inform officials of your claim, state
who you informed, when and how, and their response, if any:

N ln

G. Please set forth any additional information that is relevant to the exhaustion of

your administrative remedies. S\.C hari¢s Coundy Jacl does wat allow yor

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(Note: Yo may attach as exhibits to this complaint any documents reldted to the exhaustion of

your administrative remedies.)
VI. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury.” 28 U.S.C. § 1915(g).

A. To the best of your knowledge, have you ever had a case dismissed on the basis of
this “three strikes rule’?

LL Yes A. No

If yes, state which court dismissed your case and when it was dismissed. Attach a
copy of the court’s order, if possible.

Have you filed other lawsuits in state or federal court dealing with the same facts
involved in this action?

LI Yes tt No

B. If your answer to A is yes, describe each lawsuit by answering questions 1
through 7 below. (Jf there is more than one lawsuit, describe the additional
lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit

Plaintiff ul A

Defendant(s) J la

 

 

 

Z. Court (if federal court, name the district; if state court, name the state and county)
N ln
|
3. Docket or case number N/A
4. Name of Judge assigned to your case wle
Approximate date of filing lawsuit N/A
|

 

Is the case still pending?
Li ves
[| No (/fno, give the approximate date of disposition): al

What was the result of the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

Nia

Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of your imprisonment?

ET ves | | No

If your answer to C is yes, describe each lawsuit by answering questions 1
through 7 below. (If there is more than one lawsuit, describe the additional
lawsuits on another page, using the same format.)

Parties to the previous lawsuit
Plaintiff OQ AR Mer —

Defendant(s) Pelee ol al.

Court (if federal court, name the district; if state court, name the state and county)

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Name of Judge assigned to your case (ydg & Q-dSers on

Approximate date of filing lawsuit 2 ab
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6. Is the case still pending?

Li Yes

EX ne (f no, give the approximate date of disposition):

i What was the result of the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

Sseied aw oe

VII. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or,
if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies
with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk’s
Office may result in the dismissal of my case.

I declare under penalty of perjury that the foregoing is true and correct.

Signed this 23** tay of “December , 20.20

 

Signature of Plaintiff

 

 

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